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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division



 DEVIN G. NUNES,

                          Plaintiff,

        v.                                            Civil No.: 3:19-CV-00889

 CABLE NEWS NETWORK, INC.,

                          Defendant.


                              MOTION TO DISMISS COMPLAINT

       Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendant Cable News

Network, Inc., by and through undersigned counsel, hereby moves to dismiss the Complaint in this

matter for failure to state a claim upon which relief can be granted. The Complaint purports to

allege counts of defamation and conspiracy. Both claims fail as a matter of law. As set forth more

fully in the Memorandum of Law submitted in support of this Motion, the grounds for dismissal

are:

   1. Plaintiff failed to seek an unequivocal demand for correction or retraction in writing within

       20 days of learning of the allegedly defamatory report, as required by the retraction statute

       in his home state of California. Cal. Civ. Code § 48a. His failure to do so limits his

       recovery to only special damages as a matter of law. Because the Complaint fails to plead

       special damages with the specificity that is required, it must be dismissed.

   2. The conspiracy claim is independently defective and must be dismissed for the additional

       reason that it is based on nothing more than conclusory allegations that cannot give rise to

       plausible claim.
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       Defendant respectfully requests oral argument on this motion.

       WHEREFORE, Defendant respectfully requests that the Court enter an order granting the

Motion to Dismiss and dismissing the case with prejudice.



 Dated: January 17, 2020               Respectfully submitted,

                                       WILLIAMS & CONNOLLY LLP

                                       By:     /s/ Dane H. Butswinkas

                                       Dane H. Butswinkas (VSB No. 30562)
                                       Kevin T. Baine (pro hac vice application pending)
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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 17th day of January 2020, I caused a true and correct copy of

the foregoing Motion to Dismiss of Defendant Cable News Network, Inc. to be served on counsel

of record via the Court’s CM/ECF system.



                                            /s/ Dane H. Butswinkas

                                            Dane H. Butswinkas
